Case 3:22-cr-00001-NKM-JCH Document 164 Filed 09/20/22 Page 1 of 13 Pageid#: 693




                            IN 'ITIIq UNITDD STAI'ES DISI,RICT COUITT'
                           FOIT THE WtrSTERN DISTRICT OF
                                                            VIRGINTA
                                    CHARLOTTESVILLI4 DIVISI ON

     UNII'ED STA'I'ES OI. AMEIUCA

                     v,
                                                                  Cnse No. 3122-cr'-00001

     COITEY ITAYMONFIilNNEY


                                           PLtrA AGITEtrMI}NT

              I lrave agleed to etttel into a plea agreement          with tlre Uuitecl States of Aurer,ica,
    Pursltant to Rule I    I of the Fedelal Ilules of Crirninal Procetlure, The terLns
                                                                                                ancl conclitions
    of lhis agr,eement arc as follorvs:

    A.
         RIGHTS

         t.

     .     My aftot'ney lias inforrnecltne ofthe rrature of the char.ge(s)
                                                                           and the elernenls of tlre
    charge(s) that rnust be plovecl by tho united stattx
                                                             t        a reasonable cloubt before I
    could be found guilty as chargecl.                         "v"rur

              I will entel a plea of grrilty to Counts 3 of the     Fir,st suporsocling   l1clict,re,r,
              Count 3 charges rne with blanclishing anclpossessing
            .                                                      a {rlearur cluripg and in relatiorr
    to a ct'itue ofviolence, in violation of 1t u.s.c,
                                                      $  lz+1o1.ihe n rxinr,,r., ,tt,,tury pe'aity
   is a fiue of $250,000 ancl/or itnpt'isonrnent for o t.,rnirtir*, plgs
                                                                             a tori oir,,pervisecl
   release of five y08l'$. There is n tttanrlatoly rnininrurn
                                                               scltencc of lnrlllisonprcnt for. a
   tct'u of seven )'eftl's, I understattd eaclr sentence irnposecl for
                                                                       a violation of t a u,S.c.              E
   924(c) rnust be served consecutively to every othel seirtence
                                                                 irnposed.

           I trndctstaltd restitution lnay lre ordeled, nry a.ssets rnay be subjeot to
                                                                                       folfeiture, and
   jbtt lLoY be imposed to pay fot incalcelation, suplrvised release, ancl-costs ofprosecutio,.
   lrt addiiion, a $100 special assessrncnt,pursuantto l8 u.s.c. iota,
                                                                        E        will be irrrpn."apr.


                                      Dcfendnnt's Iniliols:       IK
                                               Page   I of   13
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     felony count of convict'ion' i Iirrthel unclerstanrl
                                                           nry super.visecl retease ntry be           if
     I violate its telms antl cotlditiotts' I undelstancl
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     the possible periocl of iucarceration,


            I anr pleacling guilty as dcsuibecl above because I aur
    bclieve it is in rny besi interest to <lo so
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                                                 and not because        threats or pr.onrises. rhere
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    I have the follorving constitutional riglrts
    w.ive and gi,e ,p these valuable
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            I' The right to pread not guirty a,cr persist .i, trrat
           b. The r,ight to a speedy and publc jury trial;
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                                                                        1lre,;
           c' lte right to assistauce of counsei aithat tiial ancl in any subse quen[
                                                                                                appeal;
           d. The right to rernaiu silent at tr.ial;
           e. The riglrt to testifu at trial;
           f' The riglrt to couli'ottt ancl cross-exaruine witnesses called by the govelfll.lenu
           g. 1'he right to present evidence ancl lvihress"* i,irrry        orvl ber.ralf;
           h. The right to compulsory process of the courq ---'
                fhe right to co,rper the attericrarice of witnesses at
          ji, The rigtrt to be presurned innocent;                          triar;
               'I-he right to a
           1..                  unanimous guilty ver.dict;
          l. T'he right to appeal a guilty ,,"i li"t. and
       3. Disrnissal of Corrnts
           If I corrrply rvith rny obligations under the plea agreernent, the United
                                                                                          states rvill
   lllove, at scntertcing, that I be disrnissecl as a deienclani in
                                                                       any renraining cognt(s). I
   stipulate and agree the united states hacl probable cause
                                                                    io bring ,ll th";;b in the
   hldictrnent whioh are being tlisrnissed.r,idur this atreanent,
                                                                           these char.ges were not
   fiivolous, vexatious or in bad faith, ancl I arn not a "privailing parf;/,,
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   cltarges' I ftrrthel rvaive any clainr fol attonrey's fees and other litigatio,
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   oul of thc in'estigatioll ol.pr.osecutio, of this i*atter.




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                                                      Page 2           of         13
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     I}. SI'NTENCING PNOVISIONS

           1.   Golrol'nl IVIa I {er.s

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   and agrec that Section 2K2.4 Bpplies to nry
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   extel)t tlle al g(tt)letrls al e not i,lconsistent
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   sct folth jn this plca agleeuent.                                                                 ter..rns




                                         Defottl(t   trs   InitilU, 4k
                                                  I,agc 3    of   13
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                  I ag'ee to aocer)t          for ury oonrhrct. IfI con*ry rvith rrry obrigations
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     runder this l>lea ag.ee^re^t'csponsibirity
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                                                      itity for nry conduct, the Uritecl states will
     .cconrurc,d lhe cou't gmnt l)re a two-ie'el redtictio.
     U,l.S..C. g.3El.l(a) and, if applicable, at sentenciug,
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         3,   Substnntial AssistaDcc

            I understand the llnited^States tetains all of its rights pursuant
    3s(b), U.S.S.G. 95ril.1 and 1g y                                            to I1e(1. Il. Cr.hn. p.
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    deparrurc, if any, I should bc given. rHis t novrstoN
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    TIIE INITED STATES AND IS INCI-UDED N..I PI.UI'
                                                                       AGREEMENTS IN 'NJts
    WESI-ERN DISTRICT OF VIRGINIA EVEN IF
    COOPERATING,
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                                                                        DEFENDANI. IS NO'I'

        4.    Mo+e f ary Oblisntions

              8.    SD ooial   Ass c,cslnclt ts, Ifin cs nnd lcstitrr tion

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    ttre "clerk, u.s' Dist.ict court" tb. the totul
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    to cntcring l)ly plea of guilty.

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    not liurited to, all ,ratte's ircluded os tcleva,t
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    ill_Tll."lr*"srated


                                           Defenlant's Initin',l,:      CZ
                                                     Page 4   of   13
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               I   li, frror ilglee to r,al<e go.cr faith cfr.r.ts towar(r
     assessnre,(s, rcstitutiorr and fincs,                                 ,ay,)enr of           s,   ln,*d tory
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     rnandatory assosslnents, r,estilution anrl
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            I fulry understand restitulion and fo'feitLrre
                                                               al,c scrlatate fiuaucizrl obrigations which
     may be imposed trpou a criurirral <ie1-errrlaut.
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     the Dclra'r,rent of Justice r.vrretcby, i,,
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     applied to restirution obrigations. I u,der.stana
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     such n,rocess will rcsult iri a rlecrcase in rr.,y
                                                        *riitrtio,i otrtigotnr. in this case.
             I understand and agree,,l:ur.suant to lti U.S.C. 3613 and 3664(nt),
    nro'etary pcnalties a.c inrposod.by trre cour.r                 $$                            r.vhatevcr
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    irnrncdiato eufo'ccr.cnr. bv thc Uniterr
                                             states as pr"r,d;irb; by Ig u.s.c. g 36.r3,
    srr,tr,irtcd ro rhe 'li.easury offser prngr.arn                                                  arrd (ii)
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    judgment.                                                          il;""ti,rti;
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    arry othcr tasks which   will result in irnurediate"payrnini i, frf
    lirne   i^ whioh full payment catr be ,=o.onn'y ,riu.i" ," .=i,ir"AL'r.
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            I expressly authorize the uuited Statcs Aftorney,s office
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    rne in order to evaruate rny ability to satisg
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               ogr"?the following pr.ovisiors, ol lvords of similat
         ., .l                                                            elrbct, shoulcl be inoluclerl as
   co,ditio's of probatio, ard/o' s.pervised r.elease: (1) ;;iL
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   Financial Litigation unit, united.statcs Attourey's orii"",
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   property obtainecl, directry or indircctly, inctu<ling
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   luallls, or entity, ilclrrding a ll.ust, palt,]el'ship or.corporation
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   agrcemcnt until all fines, restitution, nro,ey j udgnrc.ts-                         "*.rutlon'o
                                                                  ond uronetary assesune,ls      aro paiti
   i. l",ll" arxl (2) "nre Defendant shall              ttre Finanoial iitigation urit, uuit"a-itli".
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                                          DeJendant,s   Iniliot, C     R
                                                   I,ago 5   of   13
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     Attot'ney's office, irt utiting, at least 30
                                                    clays prior to transfeuing any interest
     olvned directly or inclirectly by Defenclanr,                                            in property
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     other           or enti[1,, including tr,usts, patnershi[ nii,flo,
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    sttlrcrt'ised t'eleasc, Defendani will notify
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    Altorney's office,'before n"[nJoiit iro,r.r*r,
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    i.directly by Defb,dant, i'clucl.ing any i'te,est                                                  or
    etrtity, including tt'ttsts, part*ership-u,ri/o,
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    portiotr of ttt5' orttstancling lestitution
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    restihrtion is paid in full, uttless the court                                                    of
                                                   cletcrmines that to do so would;;;
    to a victiut ofthe offense(s),                                                          i hardship

           b.

           I understand in this case thcre is a possibility substantial
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    be irnposed' Itt otclet' to assist the uniied
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   shall be sub,ritted in a fo*, acceptabre to the u,itecl
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   without the a,thorization of the unitlcl states Atto,r"y's oifi""."




                                     Dcfertrlant's   lttitials:   Ct
                                               Page 6   of   13
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             c,   Un       tand           Clo        c(ion

             I unrlerstaltd:

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             2. paylnent should lrc lna<lc as orcler.ecl by the Court;
             3. lrnusturail payurer)ts, by cashier s.checL n,.ir*Jy ordel.,
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                U.S. Disrr.ict Court,' ro: 210 Frarklin R".,1,
                                                                S,W ,t;i;s'a0, Roanokc, Virgi,ia
                2401 1; and include       ury narne aucl .our.t n*nb". oiiiir" Ji""r.
             4'                                                                       o, r,o.ey order;
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               Lirigarion Unit at 54OtBS:,_2259.

    C. ADDITIONALMA'I"I'ERS

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         6. DepoJtntiou
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    offense involving the possession of a controlled substance.
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    cottvir:titru of a federal or state offense consisting of
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    substauccs, I ttnderstand I_coulcl be perrnancntly ineli-gible
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    teun is defined in 2l U.S.C. $ 862(d).

       8. Adnrissibilitv of Statomeutq
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   ol other hearing and any staternertts I rnake or trave maci"    [tro tr"rring, int.,oirrg learing,
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   any setting (including during a proffer),             be usecl against me irr this or- any otler
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         9. Additiofrll       Oblisntions:

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                  r   comnrit any othcr crime;
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                  I   fail to euter &ry plea of guilty when scheduled to do so, unless
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     D. REMEDIES A.VAILABLE TO TIIE UNITED STA.r.rrE

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